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JEA:kie


                                            United States District Court
                                           STATE AND DISTRICT OF MINNESOTA




     UNITED STATES OF AMERICA                                                        CRIMINAL COMPLAINT
                                                                                     Case Number:
                           V.
                                                                                i J-   .n:3 t, t        7-ni
                                                                                                               u
     JOSE FRANCISCO MLTNOZ-TERAN




          I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge

and belief.

On or about October 8, 201 l, in Big Stone County, in the State and District of Minnesota, Defendant did move and travel in
interstate and foreign commerce from the State of Minnesota to Mexico and elsewhere with intent to avoid prosecution,
custody or confinement, under the laws of the State of Minnesota for the crimes of: Murder in the First Degree, in violation
of Minnesota State Statute Section 609.I 85(a); Murder in the First Degree, in violation of Minnesota State Statutes Section
609.185(aX6);MurderintheSecondDegree,inviolationofMinnesotaStateStatutesSection609.l9subd.                         l(1);Murderin
the Second Degree, in violation of Minnesota State Statutes Section     609 .19 subd. 2( I   );   and


   in violation of Title I 8. United States Code. Section 1073.

   I further state that I am a Special Agent with the Federal Bureau of Investigation and that this complaint is based on the

   followins facts:




              SEE ATTACHED              AFFIDAVIT




   Continued on the attached sheet and made a part hereof:          E   Yes          ENo



                                                                    gnature of Complainant
                                                                  Chad Schliepsiek, Special Agent
   Sworn to before me, and subscribed in my presence,             Federal Bureau of Investisation

                                                                    St. Paul,    MN

   The Honorable Tony N. Leung
   LINITED STATES MAGISTRATE JUDGE
   Name   & Title of Judicial Officer                               Signature   of
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STATE OF MINNESOTA )
                             )      ss.    AFFIDAVIT OF CHAD SCHLIEPSIEK
COLINTY OF RAMSEY            )


       I, Chad Schliepsiek, Special Agent of the Federal Bureau of Investigation,     after

being duly sworn, from personal knowledge and from other information received from

individuals, agents and officers, state the following:

       l. I am a Special Agent with the Federal Bureau of Investigation        (FBD at   St.


Cloud, Minnesota, having been so employed with the FBI since February 23,2003. I am

assigned to the St. Cloud Resident Agency and investigate, among other things, federal

violations involving Unlawful Flight to Avoid Prosecution.

       2.   This affidavit is in support of a criminal indictment charging Jose Francisco

Munoz-Teran ("Defendant") with Unlawful Flight to Avoid Prosecution in violation of

Title 18, United States Code, Section 1073.

       3. I have reviewed a felony indictment charging    Defendant in Big Stone County,

Minnesota, with several counts of murder committed on or about October 6 or October 7,

2011. The murder involves the death of Defendant's wife, Renata         Fernandez-Ramon

("Renata") while they were living together in Ortonville, Minnesota.

       4.   The indictment specifically charges: one count of Murder in the First Degree in

violation of Minnesota State Statutes Section 609.185(a); one count of Murder in the First

Degree   in violation of Minnesota State Statutes Section 609.185(aX6); one count of

Murder in the Second Degree in violation of Minnesota State Statutes Section 609.19
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subd.l(1); and one count of Murder in the Second Degree in violation of Minnesota State

Statutes Section 609.19 subd.   2(1). In addition, I   have reviewed a Big Stone County,

Minnesota arrest warrant for Defendant issued on October 23.2012

       5.     Defendant and his wife had two children.    It appears that Defendant had a
history of domestic abuse against his wife Renata.

       6.   October 6, 201l, Renata spoke with her friend J.S. and informed her that she

planned to attend a birthday party on October 8, 201I that J.S. organized for her husband.

Renata, however, never arrived for the birthday party and October 6,2011 was the last

dav anvone heard from Renata.

       7.     On October 7,2011, Defendant called his place of employment and made

anangements to pick up his most recent paycheck. Defendant then went to his children's

elementary school     in Ortonville, Minnesota and told officials he was moving back to

Mexico. This is the first time the children's teacher and/or the principal had any

knowledge the kids were being removed from school. When the two children were

informed that their father was picking them up to move back to Mexico, they too were

surprised to hear this information. Defendant took the children's school records and left

the school.

       8. On the evening of October 7 ,201l, Defendant     and the two children did not stay

at their house in Ortonville, rather, they stayed at a friend's residence in Morris,

Minnesota. This was despite the fact that on October 4,2011, Defendant had paid the

apartment rent for the month of October. When Defendant stayed at the friend's house in
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Morris, Minnesota, Defendant claimed Renata Fernandez-Ramon had stayed back at their

apartment in Ortonville, Minnesota.

       9.    On October 8,2011, Defendant and his two children left the residence in

Morris, Minnesota. Phone records revealed that a phone number associated with

Defendant, phone      # 320-304-5155, began bouncing off towers outside of    Ortonville,

Minnesota on October     8. Over a three day period the phone bounced off towers   heading

in a southwest direction across the United     States eventually ending up Tijuana on

October I l, 201 l.

       10.      On October 17, 2011, Defendant called T.M. from that 320-304-5155

number and stated he was in Tijuana at his brothers' residence and he claimed his wife

Renata had left with an unknown female.

       I   l. On November 9,2011, T.M. reported Renata missing to law enforcement. On
November 21, 2011, Bureau of Criminal Apprehension ("BCA") Crime Scene Team

processed the last known residence of Defendant and Renata in Ortonville, Minnesota. In

summary, blood spatter was located within the bedroom, as well as a partial blood print

on a doorknob on the bedroom door. One pair sweatpants with apparent blood and

cockleburs, along with a baseball bat with apparent blood were located      in a storage

locker. Also within the same storage locker was a large majority of Renata and her

children's clothing and personal items. This included Renata's license, passports, and

credit cards.
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       12. On November 23, 2011, law enforcement in Big Stone County           received

information from a deer hunter of a possible grave site. On November 24, 2011, the

BCA processed the site in Big Stone County and found the body of Renata.

       13. On November 25,2011, Dr. Froloff conducted a forensic autopsy of Renata.

Dr. Froloff concluded Renata had traumatic head injuries along with indications of      a


broken hyoid and affixation. Renata cause of death is traumatic head injuries; matter   of

death is homicidal violence. Renata was identified by a tattoo along with dental work at

the autopsy.

       14. Investigators   have spoken to Renata's relatives    in Mexico. According    to

those relatives, while Defendant was   in Mexico he learned that authorities discovered

Renata's body in Minnesota. When Defendant learned of the discovery he stated words

to the effect that he "was screwed" and Defendant thereafter left that area of Mexico.

According to Renata's relatives, Defendant has "disappeared" since he learned that

Renata's body was      found. It is believed that Defendant's sister took him to   some

unknown location in Mexico.

       15. Numerous attempts     have been made to speak with Defendant's relatives in

Mexico. Those relatives claim they have no idea where Defendant is residing.

       16. To date. law enforcement cannot locate Defendant in Minnesota.

       17. The above is known to the undersigned to be true through reliable information

obtained from the results    of the investieation   conducted   bv Minnesota Bureau of

Criminal Apprehension, Big Stone County SherifPs Office, and the FBI.

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       18.   Based on the foregoing,     I   believe defendant, Jose Francisco Munoz-Teran,

traveled in interstate commerce and fled the State of Minnesota to avoid prosecution for,

or to avoid further custody or confinement for, the felony offenses of Murder. Said flight

conduct perpetrated by Defendant is in violation of United States Code, Title 18, $ 1073,

Unlawful Flight to Avoid Prosecution, Custody, or Confinement.


      Further your affiant sayeth not.




                                                     Chad Schliepsiek, Special Agent
                                                     Federal Bureau of Investigation
                                                     St. Cloud, Minnesota




Subscribed and sworn to before me
this l6th day of November, 2012.


The Honorable Tony lVl-eung
United States Magistrate Judge
